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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION


JADA V. VISE,

      Plaintiff,
v.                                          Case No: 3:19cv101-NBB-RP
                                            JURY DEMAND

MGM RESORTS MISSISSIPPI, LLC
D/B/A GOLDSTRIKE CASINO AND RESORT
and JOAQUIN GARCIA,

      Defendants.


                                    COMPLAINT


      COMES NOW, the Plaintiff, Jada V. Vise, by and through undersigned

counsel and for cause of action against the Defendants would respectfully show the

following:

                                   I.    PARTIES

      1.     Plaintiff, Jada V. Vise, is an adult resident of Hendersonville,

Tennessee.

      2.     The Defendant MGM Resorts Mississippi, LLC (“MGM”) is a

Mississippi limited liability company owning real property and doing business

within in the Northern District of Mississippi. MGM may be served with process

through its registered agent, Anthony Del Vescovo, at 875 Beach Boulevard, Biloxi,

Mississippi 39530.

      3.     Defendant, Joaquin Garcia, is an adult non-resident of Mississippi
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who, upon information and belief, is employed by MGM and domiciled within the

Commonwealth of Virginia.

                          II.     JURISDICTION AND VENUE

      4.     This Court has jurisdiction to hear this Complaint under 28 U.S.C.

§ 1332(a).

      5.     This Court provides proper venue for the adjudication of this

Complaint, pursuant to 28 U.S.C. § 1391(b)(2), because the events which form the

basis of the causes stated herein occurred within the territorial boundaries of the

Oxford Division of the Northern District of Mississippi.

                           III.     ALLEGATIONS OF FACT

      6.     MGM owns and operates the Goldstrike Casino and Resort (the

“Casino”), which is located at 1010 Casino Center Drive, Robinsonville, Mississippi

38664.

      7.     At all pertinent times, Vise was a regular guest at the Casino, and well

known to Casino staff and MGM management, particularly, Michael “Mav”

Mavromatis, Goldstrike’s Executive Director of Player Development, as a high-

stakes blackjack and slot player.

      8.     MGM, to encourage Vise to gamble at Goldstrike (and at its sister

Casino, Beau Rivage Resorts), extended tens of thousands of dollars in credit

(“Markers” and “Free Play”) to Ms. Vise.

      9.     At all pertinent times, Garcia was employed by MGM at the Goldstrike

Casino.

      10.    Upon specific information and belief, Garcia had been fired from his

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previous job for sexual harassment, sexual assault, or both. MGM either knew of

this or upon reasonable due diligence should have known.

      11.   On July 21, 2018, Garcia told Vise he was moving to work at MGM’s

National Harbor in Maryland.

      12.   On or about July 22, 2018, while Vise was sitting at the blackjack table

at Goldstrike, Garcia approached her, put his arms around her, and without and

against Vise’s consent, deliberately rubbed his hand across her breasts in a sexual

manner.

      13.   While embracing Vise on July 23, 2018, Garcia deliberately, and

without and against Vise’s consent, rested his hand on her buttocks in a sexual

manner.

      14.   Vise was shocked and upset and advised Mavromatis of Garcia’s

actions and her concerns.

      15.   On the morning of August 4th, 2018, Vise was present on the floor of

the Casino standing by the slot machines waiting to be paid for some jackpots, when

Garcia again approached and physically accosted her from behind.

      16.   When Garcia accosted Vise on the floor of the Casino on August 4,

2018, without and against Vise’s consent, Garcia deliberately shoved his hand in

her front pocket and fondled her vagina in a sexual manner.

      17.   Vise immediately, repeatedly, firmly, and unequivocally rebuked

Garcia for his outrageous conduct after he deliberately shoved his hand in her front

pocket and fondled her vagina in a sexual manner.



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      18.    Following this incident, Vise was outraged and loudly and repeatedly

told Garcia not to touch her ever again.

      19.    On August 5, 2018, while Vise was speaking with a Casino employee,

by the Host Desk, she was frightened to see Garcia, who had crept up on her from

behind, and was standing inappropriately close to her deliberately leering at her

legs and buttocks in an overtly lascivious manner.

      20.    When Vise turned to see Garcia behind her, the combination of

Garcia’s previous sexual conduct, physical proximity, and threatening demeanor put

Vise in fear of imminent physical harm and of more unwanted sexual touching.

      21.    Vise’s fear intensified when Garcia stepped forward and grabbed hold

of Vise’s hand, and although she jerked her hand away, Garcia grabbed her hand

tighter.

      22.    The situation deescalated when two casino employees came from

around the corner and intervened. Vise asked the men to tell Garcia to stop being a

pervert!

      23.    Later the same day, August 5, Garcia approached Vise on the main

floor of the Casino and in front of two of Vise’s male friends, once again embraced

her and deliberately squeezed her buttocks in a sexual manner.

      24.    Following these incidents, Vise began to ask around about Garcia’s

reputation, and learned that he was known by Casino staff, MGM management,

and guests to have regularly engaged in inappropriate sexual touching and other

harassment of Casino employees and guests.



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      25.    Upon specific information and belief, MGM management knew of

Garcia’s reputation for sexual harassment, as well as specific instances of the same

that had occurred at the Casino.

      26.    Vise   complained     about   Garcia’s   actions   and   conduct   to   Mr.

Mavromatis, with whom she had a special relationship.

      27.    After complaining of Garcia’s conduct, MGM’s attitude changed with

respect to the credit it had extended to Vise and threatened to “call her Markers”.

      28.    Numerous communications, both by telephone, in person, by email and

text ensued between Vise and several representatives of MGM during the period of

September to November, 2018 regarding the conduct of Garcia and Vise’s

agreement to pay off the Markers.

      29.    Vise and MGM agreed on payment schedule and on August 29, 2018,

Vise delivered two (2) twenty-thousand dollar ($20,000.00) cashier’s checks to MGM

(one for Markers at Beau Rivage and one for Markers at Goldstrike) for the first

installment due in September and MGM agreed to a repayment plan to pay the

balance of Sixty-thousand dollars ($60,000.00) increments of $20,000 over the next

three (3) months (October, November and December).

      30.    Although Vise was in continuous communication with Mavromatis,

and other representatives of MGM, including Tina O’Keefe, Director of Risk

Management for MGM’s Gold Strike/ Beau Rivage Resorts, from August to

November 2018, regarding her “Markers” and Vise’s complaints and claims for

Garcia’s conduct and the failure of MGM to provide a safe environment and to



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provide reasonable security for her, MGM consistently failed to take any remedial

action or even apologize.

      31.    Therefore, on or about November 17, 2018, Ms. Tina O’Keefe was

formally advised that Ms. Vise had retained counsel regarding her claims against

MGM and Garcia.

      32.    Having no response from Ms. O’Keefe, on or about December 3, 2018,

counsel for Vise advised General Counsel of MGM: “Since we have informed Ms.

O’Keefe of our representation and the claims of Ms. Vise, the Casino has taken

retaliatory actions against Ms. Vise regarding her “markers” and her “free play.”

      33.    On or about December 5, 2018, MGM advised Ms. Vise that they had

negotiated her markers at Goldstrike dated June 30, 2018 and June 29, 2018 in the

respective amounts of $20,000 and $10,000 and by separate letter, also dated

December 5, 2018, MGM advised Ms. Vise that they had negotiated her markers at

Beau Rivage dated June 16, 2018 and June 17, 2018 in the respective amounts of

$20,000 and $10,000, knowing full-well that the accounts the checks were written

against had been closed.

      34.    Subsequently. MGM referred the above referenced markers to the

Mississippi District Attorneys in Gulfport, Mississippi and Cleveland. Mississippi,

for prosecution of Ms. Vise.



                               IV.   CAUSES OF ACTION

      35.    The facts and allegations contained in the preceding paragraphs are



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hereby reiterated and incorporated by reference for each of the following counts.

                        Count 1:       Sexually-Based Battery

      36.     As described above, Garcia deliberately and repeatedly groped and

assaulted Vise, in an overbearing, unwanted, and overtly sexual manner while an

employee of MGM and on the premises of the Casino.

      37.     Garcia’s deliberate sexual touching was highly offensive to Vise

personally.

      38.     Garcia’s deliberate sexual touching of Vise would be highly offensive to

any person of reasonable dignity.

      39.     Garcia’s deliberate sexual touching caused Vise to experience physical

anxiety during and following the incidents.

                                   Count 2:       Battery

      40.     Garcia grabbed hold of Vise on August 4, 2018, after sneaking up

behind her in the high-limit slot area of the Goldstrike Casino.

      41.     Garcia’s grabbing hold of Vise on the main casino floor was terrifying

and offensive to her personally.

      42.     Garcia’s grabbing hold of Vise on the main casino floor would be

terrifying to any reasonable woman similarly situated to Vise and would be

offensive to any person of reasonable dignity.

                        Count 3:       Sexually-Based Assault

      43.     When Garcia crept up behind Vise in the high-limit slot room, he

caused her imminent fear of bodily injury and offensive sexual touching.



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      44.    When he crept up on Vise and accosted her on the main casino floor,

Garcia was intending to assault, harm, or grope her, or some combination thereof,

or to put her in imminent fear of the same.

                 Count 4:   Intentional Infliction of Emotional Distress

      45.    Garcia’s deliberate, offensive sexual touching was extreme, outrageous

conduct, exceeding all possible bounds of decency.

      46.    Garcia’s deliberately accosting Vise in the casino was extreme,

outrageous conduct, exceeding all possible bounds of decency.

      47.    Vise suffered significant mental anguish and emotional distress as the

result of Garcia’s deliberate, offensive sexual touching, as well as his accosting her

in the casino.

      48.    When Garcia engaged in the conduct covered under the preceding

counts, he was employee of MGM.

      49.    Garcia engaged in this conduct while conducting the regular duties of

his job at the Casino.

      50.    Upon information and belief, Garcia’s pattern of sexual harassment

was so frequent and pervasive that it was, in practice if not design, inextricable

from his day-to-day job performance.

      51.    MGM management knew, or reasonably should have known, that

Garcia was engaging in such behavior, and their failure to discipline or take other

corrective action should be construed as an actual or constructive endorsement of

such conduct by Garcia while on the job.



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      52.    Under the doctrine of respondeat superior, MGM is therefore

vicariously liable for Garcia’s tortious conduct as covered under the preceding

counts.

                               Count 5:   Negligent Hiring

      53.     MGM had a duty to its guests to exercise reasonable care and

diligence as to the hiring if its employees.

      54.    MGM breached this duty by hiring Garcia when MGM knew or should

have known Garcia was fired from his previous job for sexual harassment, sexual

assault, or both.

      55.    Vise’s sexual victimization by Garcia on Casino premises is

proximately attributable to MGM’s decision to hire Garcia, an individual MGM

knew or should have known had a propensity to aggressive and inappropriate

sexual behavior.

                    Count 6:     Negligent Retention and Supervision

      56.    MGM had a duty to its guests to exercise reasonable care and diligence

in the retention and supervision of its employees.

      57.    MGM breached this duty by failing to terminate, discipline, or take

other corrective action after MGM management knew or should have known of the

aggressive and inappropriate sexual behavior Garcia regularly exhibited on the job.

      58.    Vise’s sexual victimization by Garcia while Garcia was on the job is

proximately attributable to MGM’s failure to take corrective action in response to

Garcia’s pattern of aggressive and inappropriate sexual behavior while on the job.



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                      Count 7: Breach of Contract - Retaliation.

          59.   Vise and MGM had an agreement for the payment of the Markers and

MGM breached the agreement causing monetary damages to Vise.

                      Count 8. Intentional Infliction of Emotional Distress

                            (Mississippi Code Annotated section 15-1-35)

          60.   By negotiating the markers dated June 16, June 17, June 29 and June

30, 2018 and then referring the return of “worthless markers” to the District

Attorneys for prosecution, MGM intentionally inflicted emotional distress on the

Plaintiff.

                Count 9. Failure to Provide Adequate Security

          61.   At all time relevant, MGM had a duty to provide reasonable security to

protect its patrons, invitees and guests from foreseeable physical and emotional

assaults and injury from its employees and third parties. The assaults and battery

by Garcia were foreseeable, and MGM failed to provide reasonable security

resulting in the physical and emotional injuries and damages to Vise.

                                           V.     RELIEF

          WHEREFORE, the Plaintiff Jada Vise respectfully prays for the following

relief:

               (a)   That proper process issue and be served upon the
          Defendants MGM and Garcia;

               (b)    That the Defendants MGM and Garcia be required to
          Answer or otherwise respond to this Complaint in the time and
          manner prescribed by law;

                (c)       That a jury be empaneled to adjudicate the truth of any


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 disputed factual allegations;

      (d)    That a judgment be entered awarding the Plaintiff
 compensatory and punitive damages jointly and severally against the
 Defendants in an amount not less than $5,000,000.00; and

       (e)   Such other and further relief, legal and/or equitable, as
 should be deemed just and proper.


                                 Respectfully submitted,


                                 s/Patrick Ardis
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